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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                                   )
   QORVO, INC.,                                    )
                                                   )     C.A. No. 21-1417-JPM
         Plaintiff,                                )
                                                   )
                 v.                                )
                                                   )
   AKOUSTIS TECHNOLOGIES, INC. and                 )
   AKOUSTIS, INC.,                                 )
                                                   )
         Defendants.                               )

                       STIPULATION AND ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that the deadline for Qorvo, Inc. to file a redacted version of Plaintiff’s Answering Brief

in Opposition to Defendants’ Motion for Leave to Amend its Answer (D.I. 267) and of the

Declaration of Jonathan DeFosse in Support of Plaintiff’s Answering Brief in Opposition to

Defendants’ Motion for Leave to Amend its Answer and the corresponding exhibits (D.I. 268) is

extended until August 16, 2023.

MORRIS, NICHOLS, ARSHT & TUNNELL LLP                   BAYARD, P.A.

/s/ Jeremy A. Tigan                                    /s/ Ronald P. Golden III

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SO ORDERED this 16th day of August 2023.


                                        s/ Jon P. McCalla
                                       Jon P. McCalla
                                       United States District Judge




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